                  IN THE COURT OF APPEALS OF NORTH CAROLINA

                                      2022-NCCOA-213

                                       No. COA21-43

                                     Filed 5 April 2022

     Mecklenburg County, No. 17 CRS 206200

     STATE OF NORTH CAROLINA,

                 v.

     JAIME SUZANNE BOWEN, Defendant.


           Appeal by Defendant from judgment entered 24 September 2019 by Judge

     George Cooper Bell in Mecklenburg County Superior Court. Heard in the Court of

     Appeals 6 October 2021.


           Attorney General Joshua H. Stein, by Associate Attorney General Brian M.
           Miller, for the State.

           Appellate Defender Glenn Gerding, by Assistant Appellate Defender Aaron
           Thomas Johnson, for Defendant-Appellant.


           WOOD, Judge.


¶1         Jaime Suzanne Bowen (“Defendant”) appeals from a judgment entered

     following her conviction of extortion.   On appeal, Defendant argues the First

     Amendment to the United States Constitution requires the word “threat” in N.C.

     Gen. Stat. § 14-118.4 to be construed in accordance with the term “true threat”; and

     as such, the evidence was insufficient to show she committed a true threat. After a
                                          STATE V. BOWEN

                                           2022-NCCOA-213

                                          Opinion of the Court



     careful review of the record and applicable law, we affirm the judgment of the trial

     court.


                         I.   Factual and Procedural Background

¶2            In 2011, Steven Nason (“Nason”) visited Seeking Arrangement,1 an online

     dating service where a “sugar daddy,” seeks to meet a “sugar baby.” At the time,

     Nason was married and had children. According to Nason, he accessed Seeking

     Arrangement because he believed his current marriage was difficult and he was

     “seeking . . . [another] relationship and . . . was willing to help someone financially.”

¶3            Nason met Defendant, who was twenty-eight years of age, through the website.

     The parties began a sexual relationship that lasted a couple of months, during which

     time Nason provided Defendant with financial compensation. Thereafter, Nason

     divorced his wife in 2013 and re-married in 2016.

¶4            On December 9, 2016, Nason received a LinkedIn message from Defendant,

     stating to let her know if he “would ever want [sic] grab lunch []or dinner . . . .” When

     Nason did not respond to Defendant’s initial message, Defendant sent two more

     messages to him over LinkedIn, and after acquiring his e-mail address, also e-mailed




              Seeking, originally called Seeking Arrangement, is a website where “ ‘sugar daddies’
              1

     and ‘sugar mommas’ could meet ‘sugar babies’ by honestly sharing expectations for a
     relationship upfront. . . . Seeking is about identifying what drives us and how we can live
     our best lives with someone by our side.” SEEKING, https://www.seeking.com/about-us (last
     visited March 25, 2022).
                                        STATE V. BOWEN

                                         2022-NCCOA-213

                                        Opinion of the Court



     him. After the parties exchanged a few e-mails, Defendant informed Nason she was

     writing a book about her experience on Seeking Arrangement titled “The Sugar Lie.”

     According to Defendant, the book was a “memoir of . . . [her] experience on Seeking

     Arrangement[].” Nason was included in Defendant’s book because the two “pursued

     a paid, sexual, relationship from meeting on the site . . . .” Defendant explained she

     reached out to Nason, because there was “somebody interested in publishing” “The

     Sugar Lie,” and she “needed to reach out to everybody that . . . [she] had written about

     . . . .” After receiving this e-mail, Nason retained an attorney to review and assist

     him with the situation.

¶5         When Nason did not respond to the e-mail, Defendant sent two certified letters

     to his home address. Therein, Defendant again alerted Nason about her book and

     stated she “had to send a certified letter to your ex-wife, as statements you made in

     regard to her in your marriage are to be included.” In response, Defendant sent a

     letter to Nason asking, in relevant part, “[w]hat alternatives are available?”

¶6         Seventeen days later, Nason received an e-mail from Defendant’s new e-mail

     address, Thesugarlie@gmail.com. Defendant explained to Nason she had “reached

     out to your ex-wife twice” and because Defendant’s ex-wife had not responded, “the

     only person . . . [the ex-wife] will be able to come after for defamation . . . is you.”

     Regarding possible alternatives, Defendant stated that other gentlemen had asked

     her “to consider working out a confidentiality agreement . . . [and she was] open to
                                        STATE V. BOWEN

                                         2022-NCCOA-213

                                        Opinion of the Court



     discussing that.” Defendant clarified that “all the other men who have asked me to

     consider a confidentiality agreement have made financial offers” ranging from

     $100,000.00 to $500,000.00.

¶7         Thereafter, Defendant began to e-mail Nason more frequently. Defendant

     pressured Nason to send his “offer” for a confidentially agreement by a certain

     deadline because she would soon decide “who’s offer, if any, I will be accepting.” When

     Nason failed to provide Defendant with an offer, Defendant e-mailed him stating that

     he would not receive a confidentiality agreement, and she would be “contacting the

     Dr. Phil show to see about getting on to promote . . . [her] book around the time it’s

     coming out. . . . [and] [t]here may be a chance they might reach out to you to appear

     on the show or make a comment.”

¶8         Notwithstanding Nason missing her initial deadline, Defendant continued to

     send messages to him through e-mail and LinkedIn in her effort to persuade him to

     make a monetary offer in exchange for a confidentiality agreement. After multiple

     messages without a response, Defendant e-mailed Nason on February 7, 2017, saying

     she would contact his current wife “for a statement since . . . [Nason is] going to have

     to tell her about the book and being on [s]eeking [a]rrangement[] . . . [and] since other

     women you met on there will probably come forward once the book is out.”

¶9         That same day, Nason met with Detective Matthew Grimsley with the

     Charlotte Mecklenburg Police Department. Nason provided Detective Grimsley with
                                        STATE V. BOWEN

                                         2022-NCCOA-213

                                        Opinion of the Court



       copies of the e-mails exchanged with Defendant, and Detective Grimsley initiated an

       investigation of Defendant. Thereafter, Nason coordinated every communication

       between himself and Defendant with Detective Grimsley.

¶ 10         Meanwhile, Defendant continued to demand Nason make her an “offer” and

       pay for a confidentiality agreement. Acting under Detective Grimsley’s direction,

       Nason sent a message to Defendant with an offer of $250,000.00. Defendant accepted

       Nason’s offer and sent a confidentiality agreement to him. On February 9, 2017,

       Nason asked Defendant to meet him in a public place to deliver the money. Detective

       Grimsley intended to arrest Defendant at the meeting. However, Defendant refused

       to meet in person, demanding instead that the funds be sent to her by wire transfer.

       At no point did Nason wire any money to Defendant.

¶ 11         On February 16, 2017, Detective Grimsley arrested Defendant at her

       apartment in Charlotte, North Carolina. After Defendant’s arrest, the magistrate

       issued a search warrant, and Detective Grimsley, accompanied by other officers,

       returned to Defendant’s apartment to conduct a search. The officers’ search resulted

       in the seizure of confidentiality agreements between Defendant and multiple other

       men; however, the officers did not find any evidence of Defendant having written a

       book or being in contact with a publisher or Dr. Phil. On September 18, 2017,

       Defendant was indicted for extortion.

¶ 12         At trial, Defendant twice moved to dismiss the charges, but both motions were
                                          STATE V. BOWEN

                                              2022-NCCOA-213

                                          Opinion of the Court



       denied.   On September 24, 2019, the jury found Defendant guilty of extortion

       pursuant to N.C. Gen. Stat. § 14-118.4. That same day, the trial court sentenced

       Defendant to 16 to 29 months in confinement, suspended the sentence, and placed

       Defendant on 24 months of supervised probation. Defendant gave oral notice of

       appeal in open court.

                                        II.     Discussion

       A. Defendant’s Constitutional Argument Was Preserved

¶ 13         At the outset, we address the State’s contention that Defendant’s argument on

       appeal was not preserved. Appellate Rule 10(a)(3) provides, “[i]n a criminal case, a

       defendant may not make insufficiency of the evidence to prove the crime charged the

       basis of an issue [later] presented on appeal unless a motion to dismiss the action, or

       for judgment as in case of nonsuit, is made at trial.” N.C.R. App. P. 10(a)(3). A

       properly made motion to dismiss for insufficiency of the evidence under Appellate

       Rule 10(a)(3) “preserves all insufficiency of the evidence issues for appellate review

       . . . .” State v. Golder, 374 N.C. 238, 246, 839 S.E.2d 782, 788 (2020) (emphasis added).

       Although Rule 10(a)(3) requires a defendant to make a motion, the defendant is not

       required to “assert a specific ground for a motion to dismiss for insufficiency of the

       evidence.” Id. at 245-46, 839 S.E.2d at 788 (citation omitted).

¶ 14         Here, the State argues since Defendant did not raise a constitutional argument

       in her motions to dismiss at the trial court, her argument is not preserved for appeal.
                                          STATE V. BOWEN

                                          2022-NCCOA-213

                                         Opinion of the Court



       We disagree. Defendant was not required to state a specific ground for her motion to

       dismiss as a properly made motion to dismiss preserves all arguments based on

       insufficiency of the evidence. Id. Moreover, Defendant does not raise an entirely new

       issue on appeal, but rather argues the insufficiency of the evidence to support a

       conviction for extortion under her proposed Constitutional interpretation of N.C. Gen.

       Stat. § 14-118.4. We hold Defendant’s motion to dismiss preserved for appellate

       review all issues surrounding sufficiency of the evidence, including the Constitutional

       argument Defendant now raises before this Court.

       B. North Carolina’s Extortion Statute and The First Amendment

¶ 15         On appeal, Defendant argues the trial court erred by denying her motion to

       dismiss because under the First Amendment, N.C. Gen. Stat. § 14-118.4 must be

       construed to apply only to true threats. We disagree.

¶ 16         In support of her sole argument on appeal, Defendant relies heavily upon State

       v. Taylor where this court held the First Amendment requires a “true threat” reading

       to be applied to every anti-threat statute. State v. Taylor, 270 N.C. App. 514, 849

       S.E.2d 776 (2020), rev’d, 379 N.C. 589, 2021-NCSC0164.            Therefore, we first

       determine whether the United States Constitution requires us to construe the North

       Carolina extortion statute’s “threat” language as a “true threat” before reaching the

       merits of Defendant’s sufficiency of the evidence argument.

¶ 17         On appeal, constitutional challenges and alleged violations are reviewed de
                                          STATE V. BOWEN

                                          2022-NCCOA-213

                                         Opinion of the Court



       novo. State v. Shackelford, 264 N.C. App. 542, 551, 825 S.E.2d 689, 695 (2019). When

       an issue concerning the First Amendment arises, an appellate court must “ ‘make an

       independent examination of the whole record’ in order to make sure that ‘the

       judgment does not constitute a forbidden intrusion on the field of free expression.’ ”

       Bose Corp. v. Consumers Union, 466 U.S. 485, 499, 104 S. Ct. 1949, 1958, 80 L. Ed.

       2d 502, 515 (1984). E.g. State v. Taylor, 379 N.C. 589, 2021-NCSC-164 ¶ 44.

¶ 18         Any state statute that criminalizes speech “must be interpreted with the

       commands of the First Amendment clearly in mind.” Watts v. United States, 394 U.S.

       705, 707, 89 S. Ct. 1399, 1401, 22 L. Ed. 2d 664, 667. The importance of the First

       Amendment is paramount within our State, and the trial court must construe any

       statute that criminalizes speech in accordance with the First Amendment, even if the

       statute does not explicitly require it. See also State ex rel. North Carolina Milk Com.

       v. National Food Stores, Inc., 270 N.C. 323, 331, 154 S.E.2d 548, 554-55 (1967); State

       v. Strickland, 27 N.C. App. 40, 43, 217 S.E.2d 758, 760 (1975). The State bears “the

       burden of proving the speech it seeks to prohibit is unprotected.” Illinois ex rel.

       Madigan v. Telemarketing Assocs., 538 U.S. 600, 620, 123 S. Ct. 1829, 1841, 155 L.

       Ed. 2d 793, 810 n.9 (2003). Requiring the State, not the defendant, to prove whether

       disputed speech is unprotected speech ensures equity in court proceedings. See

       Speiser v. Randall, 357 U.S. 513, 526, 78 S. Ct. 1332, 1342, 2 L. Ed. 2d 1460, 1473
       (1958) (“The man who knows that he must bring forth proof and persuade another of
                                          STATE V. BOWEN

                                          2022-NCCOA-213

                                         Opinion of the Court



       the lawfulness of his conduct necessarily must steer far wider of the unlawful zone

       than if the State must bear these burdens.”).

¶ 19         Recent cases from both our appellate courts and the federal courts identify an

       emerging trend in the law holding that the First Amendment requires all statutes

       governing threats be construed as a “true threat.” Watts, 394 U.S. at 707, 89 S. Ct.

       at 1401, 22 L. Ed. 2d at 667; United States v. Bagdasarian, 652 F.3d 1113, 1117 (9th

       Cir. 2011). Cf. Taylor, at ¶ 17-19. Watts v. United States is among the first cases to

       act as the catalyst for the “true threat” analysis requirement under the First

       Amendment. In Watts, the defendant was convicted for knowingly and willfully

       threatening the President of the United States after he stated at a political rally

                    [t]hey always holler at us to get an education. And now I
                    have already received my draft classification as 1-A and I
                    have got to report for my physical this Monday coming. I
                    am not going. If they ever make me carry a rifle the first
                    man I want to get in my sights is L.B.J.

       Watts, 394 U.S. at 706, 89 S. Ct. at 1401, 22 L. Ed. 2d at 666. The U.S. Supreme

       Court overturned the conviction reasoning “[t]he language of the political arena . . .

       is often vituperative, abusive, and inexact. . . . Taken in context, and regarding the

       expressly conditional nature of the statement and the reaction of the listeners,” the

       defendant’s speech could not be construed as a true threat. Id. at 708, 89 S. Ct. at

       1401-02, 22 L. Ed. 2d. at 667. The holding in Watts established that the First

       Amendment “requires the [g]overnment to prove a true threat” exists when
                                          STATE V. BOWEN

                                           2022-NCCOA-213

                                          Opinion of the Court



       prosecuting under a statute that criminalizes a pure form of speech. Id. at 708, 89 S.

       Ct. at 1401, 22 L. Ed. 2d at 667 (internal quotation marks omitted).

¶ 20         A “true threat” is an “objectively threatening statement communicated by a

       party which possess the subjective intent to threaten a listener or identifiable group.”

       State v. Taylor, 379 N.C. 589, 2021-NCSC-164, ¶ 34. See Virginia v. Black, 538 U.S.

       343, 359, 123 S. Ct. 1536, 1548, 155 L. Ed. 2d 535, 552 (2003). The speaker of the

       true threat need not intend “to carry out the threat. Rather, a prohibition on true

       threats protects individuals from the fear of violence and from the disruption that

       fear engenders, in addition to protecting people from the possibility that the

       threatened violence will occur.” Id. at 360, 123 S. Ct. at 1548, 155 L. Ed. 2d at 552

       (cleaned up) (citation omitted).

¶ 21         Our Supreme Court applied the holding in Watts to a North Carolina anti-

       threat statute for the first time in State v. Taylor. In Taylor, the defendant posted

       comments on Facebook against court officers, referencing that one officer would be

       the “first to go[,]” and another officer could incur “death to her as well.” Taylor, at ¶

       2, 7. Ultimately, defendant was convicted under N.C. Gen. Stat. § 14-16.7(a) for

       knowingly and willfully making a threat to kill an officer of the court. Id. at ¶ 12-13.

       Defendant appealed, and, in reversing the trial court, this Court determined his

       conviction violated the true threat exception to the First Amendment. Id. at ¶ 3.

¶ 22         Subsequently, our Supreme Court affirmed the true threat exception to the
                                          STATE V. BOWEN

                                           2022-NCCOA-213

                                          Opinion of the Court



       First Amendment, noting “[i]f defendant’s Facebook posts contained any true threats,

       then it is indisputable that he could be criminally punished . . . [but if the] posts did

       not contain any true threats, then his expression is shielded by the First

       Amendment.” Id. at ¶ 18. Our Supreme Court further stated “in defining and

       applying the true threats exception, a statute criminalizing speech must be

       interpreted with the commands of the First Amendment clearly in mind.” Id. at ¶ 24
       (internal quotation marks omitted) (quotation omitted). Ultimately, our Supreme

       Court held that the “Free Speech Clause of the First Amendment to the United States

       Constitution protect[s] defendant from being convicted solely for publishing the

       messages contained in his Facebook posts[.]” Id. at ¶ 4.

¶ 23         Here, Defendant urges this court to hold that the First Amendment of the

       United States Constitution requires we apply the “true threat” requirement to the

       terms within N.C. Gen. Stat. § 14-118.4 which sets forth the crime of Extortion.

       Whether N.C. Gen. Stat. § 14-118.4 falls under the “true threat” requirement of the

       First Amendment is a case of first impression. We decline to extend the “true threat”

       requirement to N.C. Gen. Stat. § 14-118.4 and hold the First Amendment does not

       require a threat under the terms of N.C. Gen. Stat. § 14-118.4 be a “true threat” to

       fall outside the protections of the First Amendment.

¶ 24         Generally, the First Amendment “prevents government from proscribing

       speech, . . . or even expressive conduct, . . . because of disapproval of the ideas
                                           STATE V. BOWEN

                                           2022-NCCOA-213

                                          Opinion of the Court



       expressed.” R. A. V. v. St. Paul, 505 U.S. 377, 382, 112 S. Ct. 2538, 2542, 120 L. Ed.

       2d 305, 317 (1992). Our society, however, permits content-based restrictions on

       speech that is “of such slight social value as a step to truth that any benefit that may

       be derived from them is clearly outweighed by the social interest in order and

       morality.” Id., 505 U.S. at 383, 112 S. Ct. at 2543, 120 L. Ed. 2d at 317 (quotation

       omitted). Categories of speech that may be restricted are those forms of speech

       intended and likely to “incite imminent lawless action, . . . obscenity, . . . defamation,

       . . . speech integral to criminal conduct, . . . so-called ‘fighting words,’ . . . child

       pornography, . . . fraud, . . . true threats, . . . and speech presenting some grave and

       imminent threat the government has the power to prevent . . . .” United States v.

       Alvarez, 567 U.S. 709, 717, 132 S. Ct. 2537, 2544, 183 L. Ed. 2d 574, 587 (2012).

       Although the “true threat” requirement under the First Amendment has been applied

       to speech surrounding political hyperbole, Courts have hesitated to apply the “true

       threat” requirement to extortion. See also United States v. Quinn, 514 F.2d 1250,

       1268 (1975).

¶ 25         In the case before us, Defendant was convicted of extortion under Section 14-

       118.4. Extortion, though verbal, is a crime in and of itself. United States v. Marchetti,

       466 F.2d 1309, 1314, (4th Cir. 1972). Like robbery or murder, extortion “refers to

       criminal conduct that has a commonly understood meaning providing ample notice of

       the conduct falling within its ambit, limiting the potential for abuse in enforcement,
                                          STATE V. BOWEN

                                           2022-NCCOA-213

                                          Opinion of the Court



       and ensuring that protected First Amendment speech is not within its reach.” United

       States v. Coss, 677 F.3d 278, 289 (6th Cir. 2012). Extortion is speech that is integral

       to criminal conduct, notwithstanding the content of the speech. It therefore falls

       within the category of unprotected speech, and necessarily may be restricted. See

       also Alvarez, 567 U.S. at 717, 132 S. Ct. at 2544, 183 L. Ed. 2d at 5887; Seals v. McBee,

       898 F.3d 587, 597 (2017) (noting “extortion” is “unprotected speech”). As the Fifth

       Circuit colorfully expressed in Quinn, “[i]t may categorically be stated that

       extortionate speech has no more constitutional protection than that uttered by a

       robber while ordering his victim to hand over the money, which is no protection at

       all.” United States v. Quinn, 514 F.2d 1250, 1268 (5th Cir. 1975). In United States v.

       Kirsch, the court found that true threat jury instructions should not be read in

       conjunction with extortion statutes, explaining “the extortion statutes at issue in this

       case already contain sufficient intent requirements. There is thus no need to further

       separate innocent conduct from wrongful conduct.” United States v. Kirsch, 151 F.

       Supp. 3d 311, 318 (W.D.N.Y. 2015).

¶ 26         We agree with the reasoning of the federal courts and hold that extortionate

       speech as prohibited by N.C. Gen. Stat. § 14-118.4 is not constitutionally protected

       speech.   Thus, a “true threat” application and analysis to Section 14-118.4 is

       unmerited.

¶ 27         Notwithstanding our holding, a statute prohibiting extortionate speech may
                                          STATE V. BOWEN

                                          2022-NCCOA-213

                                         Opinion of the Court



       itself be unconstitutional. Other courts in the federal circuit have addressed the

       validity of extortion statutes under the First Amendment. The Sixth Circuit in Coss

       held an extortion statute did not violate the First Amendment when the statute was

       sufficiently “cabined by its own wrongful threat and intent to extort requirements to

       survive constitutional muster.” United States v. Coss, 677 F.3d 278, 290 (6th Cir.

       2012). In United States v. Hutson, the Ninth Circuit held a statute was valid under

       the First Amendment

                    [b]ecause the statute in the present case is limited to
                    extortionate threats, it does not regulate speech relating to
                    social or political conflict, where threats to engage in
                    behavior that may be unlawful may nevertheless be part of
                    the marketplace of ideas. . . . The ‘intent to extort’
                    requirement of section 876 guarantees that the statute
                    reaches only extortionate speech, which is undoubtedly
                    within the government’s power to prohibit.

       843 F.2d 1232, 1235 (9th Cir. 1988).

¶ 28         As in Coss and Hutson, Section 14-118.4 contains the necessary intent and act

       requirements to pass constitutional muster. N.C. Gen. Stat. § 14-118.4 states: “Any

       person who threatens or communicates a threat or threats to another with the

       intention thereby wrongfully to obtain anything of value or any acquittance,

       advantage, or immunity is guilty of extortion and such person shall be punished as a

       Class F felon.” N.C. Gen. Stat. § 14-118.4 (2021). Per the plain language of Section

       14-118.4, the “intent” component of the section lies in the requirement that the
                                          STATE V. BOWEN

                                           2022-NCCOA-213

                                          Opinion of the Court



       perpetrator must “communicate a threat or threats” while possessing the requisite

       intent to “wrongfully . . . obtain anything of value or any acquittance, advantage, or

       immunity . . . .”   Id.   The “act” component, in turn, rests in Section 14-118.4’s

       prohibition of the crime of extortion within our State and does not limit speech

       “relating to social or political conflict.” Hutson, 843 F.2d at 1235. Consequently, we

       hold Section 14-118.4 withstands First Amendment scrutiny as it prohibits only

       extortionate speech.

¶ 29         In this case, extensive evidence was presented to support Defendant’s

       conviction of extortion. Defendant sent Nason multiple e-mails and letters asserting

       that she was writing a book about their “sugar daddy” and “sugar baby” relationship.

       Defendant told Nason she sent certified letters to his ex-wife regarding statements

       he had made about her. When Nason did not immediately offer to “purchase” a

       confidentiality agreement, Defendant sent frequent e-mails demanding Nason

       submit a bid for a confidentiality agreement.             Defendant threatened, absent a

       confidentiality agreement, Nason’s ex-wife could come after him for defamation, he

       may be asked to appear on the Dr. Phil show about the book, and his current wife

       would receive letters from Defendant. Under these facts, there was ample evidence

       to support the jury’s finding Defendant committed extortion under Section 14-118.4.

¶ 30         Finally, Defendant concludes her argument on appeal by alleging the evidence

       was insufficient to show she committed a “true threat.” As discussed supra, because
                                          STATE V. BOWEN

                                              2022-NCCOA-213

                                          Opinion of the Court



       we hold the crime of extortion does not require a “true threat” under the First

       Amendment, we need not address this argument.

                                       III.     Conclusion

¶ 31         Following the U.S. Supreme Court and federal appellate opinions, we hold

       extortionate speech is criminal conduct in and of itself and, as such, is not

       constitutionally protected speech. Therefore, the First Amendment does not require

       that the “true threat” analysis be applied to N.C. Gen. Stat. § 14-118.4. Although

       statutes prohibiting extortionate speech may, as a whole, be unconstitutional, Section

       14-118.4 is narrowly tailored as to only restrict extortionate speech, and thus is valid

       under the First Amendment. The evidence in this case supported the jury’s finding

       that Defendant committed extortion in violation of Section 114-118.4. Accordingly,

       we discern no error in the judgment of the trial court.

             NO ERROR.

             Judges ZACHARY and CARPENTER concur.
